              Case 19-02520-hb                          Doc 13       Filed 06/15/19 Entered 06/15/19 15:55:02                       Desc Main
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 Fill in this information to identify your case:
 Debtor 1               Towanda M Strong                                                                               Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 19-02520
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          12/17

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                           claim in order to be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in               Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                 Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                          Included                   Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                            Included                   Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:

$430.00 for 60 Months.

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner:

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             Check all that apply:
                      The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
                      Other (specify method of payment):


2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                          The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2          Request for valuation of security and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                                    The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                          secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                          Estimated amount of secured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                          motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                          value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                          amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
                          below.

                                    The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                          under Part 5.1 of this plan. If the estimated amount of a creditor’s secured claim is listed below as having no value, the creditor’s
                          allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the
                          Court, the amount of the creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this
                          paragraph.

                                    Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by
                          section 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a
                          reasonable time.

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 Name of               Estimated             Collateral              Value of      Amount of claims Estimated amount        Interest      Estimated
 creditor              amount of                                     collateral    senior to creditor's of secured claim    rate          monthly
                       creditor's                                                  claim                                                  payment to
                       total claim                                                                                                        creditor
                                                                                                                                          (disbursed by
                                                                                                                                          the trustee)




                                                                                                                                                     $98.00
                                                                                                                                             (or more) see
                                                                                                                                              also § 8.1 for
 Mr.                                         215 Lupo                                                                                            additional
 Cooper                $5850                 Drive                   $79,000.00                None          $74,000.00           0%           information




                                             Washer,
                                             Table,
 Badcock               $885.00               Chair                   $Unk                      $0.00              $885.00       6.75%                      18.00
                                                                                                                                          (or more)
                                             2009
                                             Honda
                                             Accord
                                             135102
                                             miles
                                             VIN#
                                             1HGCP263
                                             39A053824

 HYDE                                        Principal
 PARK                                        Amount
 AUTO                                        Due in
 SALES                 $7,696.00             filed POC               $3,500.00                 $0.00          $7,696.00         6.75%                     152.00
                                                                                                                                          (or more)

Insert additional claims as needed.

 3.3         Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

      Check one.
                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims
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4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                          The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed
                          priority claim without further amendment of the plan.

                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name of DSO
                                        recipient), at the rate of $      or more per month until the balance, without interest, is paid in full. Add additional
                                        creditors as needed.

                           b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                        directly to the creditor.

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                        order or a statute.

              Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a pro rata basis. If funds are
available, the trustee is authorized to pay on any allowed priority claim without further amendment of the plan. See § 8.1

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one


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             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of 100% of claims.
                The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the appliable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
             8.1.1 Claims of the IRS & SCDOR shall be paid in full.
             8.1.2 Debtor, at this stage of this proposed Chapter 13 Plan of of Reorganization, references her rights herein,
                    noting (rather than asserting any adverse treatment of the Mortgage Debt outside the scope of normative
                    practice (and specifically meant to comply with Notice to any and all parties which theoretically could be
                    effected, in the event of further action by Debtor rather than "ambush" any interested entity1) that she has a
                    claim to recover actual damages, statutory penalties and related relief pursuant to S.C. Code Ann. §§
                    28-10-102 & 28-10-105 either affirmatively by way of a possible Adversary Proceeding for damages, or for
                    leave of court to pursue said remedies in State Court, or to establish Mortgagee's claim, or by objection to
                    any Proof of Claim filed by any entity claiming to be the current Mortgagee, Servicer of the Mortgagee or
                    Agent of the Mortgagee, concerning the Debtor's residence: property of record known as 215 Lupo Drive.
                    The rights asserted concern the manner in which the mortgage loan closing was conducted (concering
                    Debtor's residence, which is central to her reorganization in this Chapter 13 plan).

                          The closing took place on or about June 26, 2016, thus the alleged statutory violation is within the Three
                          Year Statute of Limitations for an action under the aforesaid provisions of the South Carolina Code. Debtor
1
    United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260 (2010)
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                          is informed, believes and alleges that under the SC Code, she is entitled to damages, statutory penalties and
                          attorney's fees for vindication of her rights as assigned thereunder, and that same is necessary to determine
                          Debtor's claim against the Mortgagee, or to have setoff against any claim established by or on behalf of the
                          Mortgagee, whether by Proof of Claim or Adversary Proceeding. The intention of the Statute and Debtor's
                          rights being enforced are precisely designed for consumer protection (protection of the public). The rights
                          grant Debtor an affirmative claim against the current holder of the Mortgage loan and the right to recieve
                          payments under the Promissory Note, regardless whether or not it is the original Mortgagee, as asignees (if
                          any) take such interests subject to any consumer claims which theretofore adhere by virtue of any violation
                          of the Federal Consumer Credit Protection Act, or the South Carolina Consumer Protection Code (which
                          incorporates by reference the total scope and array of the Federal Consumer Credit Protection remedies).

                          Under the cited portions of the South Carolina Code, however, the public policy of the State of South
                          Carolina extends further protections to ensure that each and every borrower securing financing touching
                          upon an interest their residential (or consumer) real estate, whether a first, second, Home Equity Line of
                          Credit (HELOC) or a lien against their home of any priority, shall have the right to choose the Attorney of
                          Their preference to close such transaction. South Carolina public policy is also governs the choice of the
                          South Carolina Legislature to opt out of its Debtors using Federal Exemptions, and instead provides its own
                          Statutory Exemptions securing certain property interests from the reach of any creditor. Debtor asserts that
                          it is her inseparable constitutional right, under State Law, as composed and incorporated into the public
                          policy of South Carolina as to defining the relationships between Debtors and their Creditors, and to avail
                          herself of all remedies available under South Carolina Law to fully realign her relationship with her creditors
                          consistent with Federal Bankruptcy law and South Carolina law to obtain complete relief through the
                          Chapter 13 Reorganization process. In this particular case, Debtor is informed, believes and alleges she has
                          valid choses in action under state law, which in conjunction Federal Bankruptcy law will afford her a
                          complete adjustment and reorganization of her debts, especially the one pertaining to the consumer
                          mortgage loan on her residence. Debtor asserts, that on the facts of her case - being filed just within the
                          Statute of Limitations regarding such claims, complete adjustment of her debt with the Mortgage creditor in
                          this case cannot be made without consideration of the remedies provided in the referenced sections of the
                          South Carolina Consumer Protection Code.

                          S.C. Code Ann. § 28-5-102(a) requires in material part that consumer mortgage lenders obtain a borrower's
                          preference as to counsel at or within three (3) days of the loan application, and prior to closing. The
                          comments to that section in the seminal treatise "The South Carolina Consumer Protection Code Text With
                          Comments," Kathleen Goodpasture Smith, at 402 (4th ed., 2001) states significantly that the requirement of
                          obtaining the attorney preference with the loan application, mailing or delivering same within three days of
                          receiving the application ("allowing three business days") was done to conform to "federal disclosure laws
                          such as the Truth in Lending Act and Real Estate Settlement Procedures Act." Id.

                          The offending loan closing procedures concern property at issue is as scheduled in § A/B of the Debtor's
                          schedules. The forthcoming proceeding anticipates naming Nationstar Mortgage, LLC d/b/a Mr. Cooper,
                          acting as servicer for Mortgage Electronic Registration Systems, Inc., the named Mortgagee per the
                          Mortgage of Record recorded in the Office of the Clerk of Court for Greenwood County South Carolina in
                          Mortgage Book 2968 at Page 270. Primary Residential Mortgage, Inc., is believed to be the table funding
                          lender for the underlying transaction, which brokered the loan existent between the parties. All entities
                          named herein will be served with Notice of this Plan, and given notice of the Chapter 13 filing. Debtor is
                          unaware of any assignment of any interest in the Note or Mortgage incident to the transaction which would
                          require additional Notice of the terms of this proposed plan.

 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ Towanda M Strong                                                    X
       Towanda M Strong                                                               Signature of Debtor 2
       Signature of Debtor 1

       Executed on            June 2, 2019                                            Executed on

 X     /s/ John DeVore Compton, III                                            Date     June 2, 2019


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       John DeVore Compton, III
       Signature of Attorney for debtor DCID#5333

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Towanda M Strong                                                                               Case No.   19-02520
                                                                                  Debtor(s)                Chapter    13



                                                                     CERTIFICATE OF SERVICE


I hereby certify that on June 15, 2019, a copy of Debtor's Chapter 13 Plan was served electronically or by
regular United States mail to all interested parties, the Trustee and all creditors listed below.

 BEST CASH LOANS OF SC
 Carmax Auto Finance
 CHECK N GO
 CPW
 Greenwood Mills Harris Plant
 HYDE PARK AUTO SALES
 I C System Inc
 IRS
 Midland Credit Management, Inc.
 Mr. Cooper
 National Credit Adjusters, LLC
 Neighbors United Fed C
 Peach State Federal Credit Union
 Perfection Collection
 PMAB, LLC
 Portfolio Recovery
 PORTFOLIO RECOVERY ASSOCIATES LLC
 Progressive Leasing
 SC DEPT OF REVENUE
 Scott & Associates
 SELF REGIONAL HEALTHCARE



                                                                                /s/ John DeVore Compton, III
                                                                                John DeVore Compton, III
                                                                                COMPTON LAW FIRM, LLC
                                                                                P.O. Box 367
                                                                                Greenwood, SC 29648
                                                                                864-942-0518
                                                                                dee@comptonlawfirm.com




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